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   NATIONAL REGISTERED AGENTS, INC.                                                    Update this Business



   Entity Number: 7209417-0250
   Company Type: Commercial Registered Agent Entity
   Address: 1108 E SOUTH UNION AVENUE Midvale, UT 84047
   State of Origin:

 Applicant
 Applicant Name:
 Commercial Registered Agent
                               There are no principal individuals on file with the Division for this entity.



   Status: Active                                                           Purchase Certificate of Existence



   Status: Active   as of 12/09/2008
   Renew By: N/A
   Status Description: License Issuance
   Employment Verification: Not Registered with Verify Utah

   History                                                                            View Filed Documents



   Registration Date: 12/09/2008
   Last Renewed: N/A

   Doing Business As

   KETTERING UNIVERSITY

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              Business Name:




                                                                                                                Give Feedback
